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                IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )     CASE NO. 13 CR 515
                                                )
       v.                                       )
                                                )     JUDGE REBECCA R. PALLMEYER
DMITRY FIRTASH, et al.,                         )
                                                )
               Defendants.                      )


    DMITRY FIRTASH AND ANDRAS KNOPP’S MEMORANDUM IN SUPPORT OF
       THEIR MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
   IN FURTHER SUPPORT OF THEIR MOTIONS TO DISMISS THE INDICTMENT

       After Defendants Dmitry Firtash and Andras Knopp’s Motions to Dismiss the Indictment

were fully briefed, the Second Circuit issued a decision that bears on issues similar to those

presented in this case. See United States v. Lawrence Hoskins, 16-1010-cr, 2018 WL 4038192

(2d Cir. Aug. 24, 2018) (Ex. A).

       In their opening and reply memoranda, Defendants cited to the district court’s decision in

Hoskins, 123 F. Supp. 3d 316 (D. Conn. 2015), for its holding that the government cannot use a

conspiracy theory to prosecute a non-resident foreign national (like Defendants Firtash and

Knopp) for FCPA violations if that non-resident foreign national was not an agent of domestic

concern and did not commit any acts while physically present in the United States. (See Firtash

Memo. ISO Motion to Dismiss, ECF. No. 25 at 20–23; Defendants’ Joint Reply ISO Motion to

Dismiss, ECF. No. 47 at 26–31.)

       On August 24, 2018, the Second Circuit affirmed, in relevant part, the district court’s

ruling in Hoskins and held that a foreign national defendant, who never set foot in the United

States nor worked for an American company during the alleged scheme, may not be held liable
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under a conspiracy theory for violating the FCPA. As the Court stated, “the FCPA does not

impose liability on a foreign national who is not an agent, employee, officer, director, or

shareholder of an American issuer or domestic concern—unless that person commits a crime

within the territory of the United States . . . .” 2018 WL 4038192 at *23 (emphasis in original).

If a defendant does not fall into one of those enumerated categories, “[t]he government may not

expand the extraterritorial reach of the FCPA by recourse to the conspiracy and complicity

statutes.” Id.

       The Second Circuit’s affirming opinion in Hoskins supports Defendants’ arguments that

this Court should dismiss Count Five of the indictment, the FCPA count. Defendant Firtash’s

companies had no United States subsidiary or United States connection and neither he nor any

other co-defendant have been accused of conducting a single act of bribery either within the

United States or directed toward the United States. The FCPA thus does not impose liability here

and the government cannot circumvent that by charging conspiracy (which is precisely the

argument the government is advancing with respect to Firtash and Knopp (see Government’s

Consolidated Response to Defendants’ Motions to Dismiss Indictment, ECF. No. 40 at 78–81).)



Dated: August 27, 2018                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I, Dan K. Webb, hereby certify that on August 27, 2018, the foregoing was served upon

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